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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                      CASE NO: 09-CIV-22852 UNGARO

 EMILIO PINERO,

        Plaintiff,

 v.

 LEVTOP, INC.,

        Defendant.

 ____________________________/



                JOINT STIPULATION OF DISMISSAL WITH PREJUDICE


        Plaintiff, Emilio Pinero and Defendant Levtop, Inc., having entered into a Confidential

 Settlement Agreement thereby resolving the claim brought in the above referenced Action

 against Defendant, hereby stipulate to the dismissal of the above styled action with prejudice,

 with the Court retaining jurisdiction to enforce the terms of the Settlement Agreement.

 Respectfully submitted this 21st day of April, 2010.



 Dated this 21st day of April, 2010



 Respectfully Submitted,

 WEISS SEROTA HELFMAN                         LAUREN N. WASSENBERG, P.A.
 PASTORIZA COLE & BONISKE, P.L.               Attorney for Plaintiff
 Attorneys for Defendant                      429 Lenox Avenue, Suite 4W23
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 By /s/ Aaron Behar                        By: /s/ Lauren N. Wassenberg
 Florida Bar No. 166286                    Florida Bar No. 0034083




                            CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the foregoing has been
 electronically filed, and served, through the Court CM/ECF filing system.

                                           Respectfully Submitted
                                           /s/ Lauren Wassenberg
                                           Lauren N. Wassenberg, Esq.
                                           429 Lenox Avenue, Suite 4W23
                                           Miami Beach, FL 33139
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